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                                                                              FILED
                             UNITED STATES DISTRICT COURT                     DEC 0 5 2017
                               DISTRICT OF SOUTH DAKOTA
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                                    CENTRAL DIVISION



 UNITED STATES OF AMERICA,                               3:17-CR-30004(01)(02)(04)-RAL

                      Plaintiff,
                                                       OPINION AND ORDER DENYING
       vs.                                                MOTIONS TO SUPPRESS

 JESSE J. WALN,
 JEREMIAH R. WALN,
 DOMINIC JOSEPH STONEMAN

                      Defendants.




        Tribal police received information that Jeremy Wain, Jesse Wain, and Dominic Stoneman

 were involved in one or more burglaries in Mission, South Dakota. The poliee exeeuted a search

 warrant on the Wains' home and found guns and other items that had been reported stolen.

 Following the search, tribal police questioned Jesse while he was in jail. Stoneman and the

 Wains moved to suppress evidenee seized from the Wains' home. Does. 134, 136, 161. Jesse

 also moved to suppress his statements to tribal poliee and the bueeal swabs he provided during

 his interview. Magistrate Judge Mark A. Moreno eondueted an evidentiary hearing and then

 recommended denying the defendants' motions. The defendants have now objected to that

 recommendation. Does. 235, 243, 244. For the reasons explained below, this Court denies the

 defendants' motions to suppress.

 I.     Facts


        Brothers Jeremy and Jesse Wain lived with their mother Debra Wain in Mission, South

 Dakota. Debra's neighbors included Patricia Bumette, who lived across the street, T. 27, Ex. 4,
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 and Beau Westover, who lived roughly three to four blocks east of Dehra next to the Cherry

 Todd Electric Building, T. 28, Ex. 4.

        Bumette's home was burglarized in May 2016. T. 25. The thieves took cash, jewelry,

 and electronics, as well as a poster autographed by basketball legend Michael Jordan. Ex. 2.

 Westover's home was burglarized approximately six months later over Veterans Day weekend.

 T. 32. Many items were stolen from Westover's home, including fourteen firearms and multiple
 boxes of ammunition. T. 24, 32; Ex. 2.

         While investigating the Westover burglary, tribal police discovered that someone had cut

 two holes in the fence surrounding the Cherry Todd lot. One hole was on the west side of the lot

 near Dehra Wain's house, and the other hole was on the east side of the lot next to Westover's

 home. Ex. 4a; T. 24, 28-31.

         On November 17, 2016, Robert Sedlmajer, a special agent with the Rosebud Sioux Tribe,

 received information that Bobbi Bush had the autographed Michael Jordan poster stolen from

  Bumette's home. T. 34-35. Bush told Agent Sedlmajer that Jesse Wain had given her the poster

  and tried to sell it to her for $2,500. T. 35, 42. Agent Sedlmajer took the poster and confirmed

  with Bumette that it was the poster stolen from her home. T. 43.

         Shortly after recovering the poster, Agent Sedlmajer received a call from Marlin Enno,
  Rosebud's chief law enforcement administrator, saying that the police had located items stolen

  from the Westover residence. T. 36. Chief Enno explained that Star Eastman had come to the

  police department to speak with Calvin Wain Jr., a captain with the Rosebud police (Captain
  Wain) and the brother of Jesse and Jeremy. According to Chief Enno, Eastman told Captain
  Wain that Jeremy and Jesse had taken^ firearms from a house and had hid some of them in a tree


  'Agent Sedlmajer's account of what Chief Enno told him is:
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 line near the home of their father, Calvin Wain Sr. T. 39. Chief Enno relayed that he and other

 officers had then gone to Calvin Sr.'s home where they found a Benelli shotgun and other items

 in a nearby tree line. T. 36, 39—40. Agent Sedlmajer confirmed with Westover that the Benelli

 shotgun found in the tree line had been stolen from Westover's home. T. 38.

          Agent Sedlmajer also spoke to Captain Wain about his conversation with Eastman. T.

 40-41. Captain Wain explained that Eastman had told him that Jeremy, Jesse, Stoneman, and

 others had broken into a house near the Cherry Todd building and stolen firearms and other

 items, T. 41, 105, 128, 132, 140, 141,143, 152; Def. Ex. C; that she saw Jeremy with four of the

 stolen guns, including a shotgun, while at Debra's residence, T. 39, 41, 105,140, Ex. C; and that

 she said that Jeremy had hidden guns and other stolen property in the tree line near Calvin Sr.'s

 home, T. 140, 143, 151-52, Ex. C.

          Based on the evidence police had recovered fi-om Calvin Sr.'s property and the

 information from Eastman, Bumette, and Westover, Agent Sedlmajer prepared an affidavit for a

 search warrant for Debra's house. T. 41—43. Agent Sedlmajer then telephoned a tribal judge,

 explained that he was applying for a warrant, and faxed the judge the affidavit and an inventory

 list of the stolen items the police would he looking for in Debra's house. T. 47—48, 110. After

 receiving the affidavit, the tribal judge called Agent Sedlmajer back and had him read the

 affidavit aloud. T. 47-48, 110-13. The tribal judge placed Agent Sedlmajer under oath and

 Agent Sedlmajer confirmed that everything in the affidavit was correct. T. 47^8, 110-13. The



                Star Eastman tells Captain Wain that Jeremy and Jesse were
                involved in going into some house—she didn't know whose house it
                was—over an extended period of time, bringing things back to
                include firearms. She was with them when they took some of the
                firearms out to Calvin Wain, Sr.'s house and drop them off, hid
                them in a tree row, hid them in cars, she knew that.
 T. 39.
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 tribal judge did not ask Agent Sedlmajer any questions and Agent Sedlmajer did not provide bim
 any information beyond that contained in the affidavit. T. 49, 113.

         The tribal judge granted a warrant to search Debra's residence for the items listed in the

 inventory Agent Sedlmajer had provided. Ex. 2. Jeremy and Jesse were home when officers

 executed the warrant on the evening of November 17, 2016. T. 51. The officers arrested Jeremy

 and Jesse after finding items belonging to Westover and Bumette in the home. T. 55-56.

         Agent Sedlmajer and Kory Provost, a special agent with the Tribe, interviewed Jesse at

 the Rosebud jail the next day. T. 57, 60. Agent Sedlmajer read Jesse his rights under Miranda v.

 Arizona, 384 U.S. 436(1966), and Jesse agreed to speak with the agents. T. 59-61; Ex. 3. Jesse

 made incriminating statements and agreed to provide a bueeal swab. T. 65-69.

        A few months later, a grand jury indicted Jeremy and Jesse for burglary, larceny, and

 possession of stolen firearms. Doc. 1. Stoneman was indicted for burglary and larceny. Doe. I.

 Judge Moreno recommended denying the defendants' motions to suppress, finding that

 Stoneman lacked standing to challenge the search of Debra's home, that the evidence seized

 from the home was admissible xmder the good-faith exception in United States v. Leon. 468 U.S.

 897(1984), that Jesse executed a valid waiver of his Miranda rights, and that Jesse's statements

 and consent to the bueeal swabs were voluntary.

        This Court reviews a report and recommendation under the statutory standards found in

 28 U.S.C. § 636(b)(1), which provides in relevant part that "[a]judge of the [district] court shall

 make a de novo determination of those portions of the report or specified proposed findings or

 recommendations to which objection is made." 28 U.S.C. § 636(b)(1). Having conducted a de

 novo review, this Court adopts the report and recommendation in full.

 II.    Analysis
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         A.      Stoneman's ability to challenge search of Debra's house

         As Judge Moreno explained, Fourth Amendment rights are personal and may not be

  asserted vicariously. United States v. Treio. 135 F. Supp. 3d 1023, 1030(D.S.D. 2015). Thus, a

  defendant challenging the constitutionality of a search under the Fourth Amendment must

  establish that he himself had "a legitimate expectation of privacy in the invaded place." Rakas v.

  Illinois. 439 U.S. 128, 143 (1978). To meet this burden, the defendant must show that he

  exhibited a subjective expectation of privacy in the place searched and that this expectation is

  objectively reasonable. Treio. 135 F. Supp. 3d at 1030. Stoneman has failed to meet this burden

  because he has neither explained how he had a legitimate expectation of privacy in Debra's

  home nor offered any evidence to suggest that such an expectation existed. His motion to

 suppress is therefore denied.

         B.      Good-faith exception

         Under Leon, the exclusionary rule does not apply when police perform a search in

 "objectively reasonable reliance" on a warrant later found to be invalid. 468 U.S. at 922;

  Massachusetts v. Sheppard. 468 U.S. 981, 987-91 (1984). The rationale for this "good-faith"

 exception is that excluding evidence in eases where the police have a reasonable good-faith

  belief that a warrant is valid would do little to deter police misconduct. Leon. 468 U.S. at 919-

 21. An officer's reliance is not objectively reasonable, and the good-faith exception is therefore

 inapplicable, in four circumstances: (1) when the warrant is based on knowingly or recklessly

  made falsehoods in the officer's affidavit;(2) when the issuing judge has "wholly abandoned his

 judicial role;" (3) when the information provided to the judge includes so little indicia of

 probable cause that the officer's belief in its existence is "entirely unreasonable;" and (4) when a

  warrant is "so facially deficient—i.e., in failing to particularize the place to be searched or the
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 things to be seized—^that the executing officers cannot reasonably presume it to be valid." Id at
 923.


         The defendants' main argument against the good-faith exception is that the affidavit was
 so lacking in probable cause that Agent Sedlmajer's belief in its existence was "entirely
 unreasonable." Probable cause to search "exists if the warrant application and affidavit describe

 circumstances showing 'a fair probability that contraband or evidence of a crime will be found in

 a particular place.'" United States v. Montes-Medina. 570 F.3d 1052, 1059 (8tb Cir. 2009)
 (quoting Illinois v. Gates. 462 U.S. 213, 238-39 (1983)). Here, the affidavit explained that the
 Bumette and Westover residences bad been burglarized of the items listed in the attached

 inventory, including an autographed Michael Jordan poster from the Bumette home and a Benelli

 Super Nova 12 gauge shotgun from the Westover home. Ex. 2. In recounting Captain Wain's

 interview with Eastman, the affidavit described how Eastman had said she was at Jeremy's
 residence (that is, Debra's home) from November 13 through November 16, 2016, that she had

 seen firearms at Jeremy's residence, and that she had gone with Jeremy to Calvin Sr.'s property

 where Jeremy "left some of the items," including a "black shotgun." Ex. 2. Other tribal police

 officers, the affidavit explained, had found a Benalli Super Nova shotgun in a tree grove north of

 Calvin Sr.'s residence. The affidavit also described how tribal police confirmed with Bumette

 that the autographed Michael Jordan poster Bush had received from Jesse had been stolen from

 Bumette's home.


        There is no doubt that there are factual gaps in the affidavit, some of which are due to

 Agent Sedlmajer's failure to include information known to him when he applied for the warrant.

 In the Eighth Circuit, however, courts assessing an officer's good-faith reliance on a search

 warrant look beyond the affidavit "and consider the totality of the circumstances, including what
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 the officer knew but did not include in the affidavit." United States v. Farlee. 757 F.3d 810, 819

 (8th Cir. 2014); see also United States v. Guzman. 507 F.3d 681, 685 (8th Cir. 2007)(explaining

 that courts may consider information known by the officers but not disclosed to the issuing judge

  when deciding whether the officers reasonably relied on a warrant).           In addition to the

 information in the affidavit. Agent Sedlmajer knew that Eastman had said that Jeremy, Jesse, and

  Stoneman had taken firearms from a house near the Cherry Todd building. Agent Sedlmajer also

  spoke with Westover, the owner of the home near the Cherry Todd building, and confirmed that

  the shotgun found on Calvin Sr.'s property had been stolen jfrom Westover's home.

         Considering the totality of the circumstances, an officer could reasonably believe that

  there was a constitutionally sufficient nexus between Debra's home where Jeremy and Jesse

  resided and their alleged criminal activity. After all, Eastman reported that Jeremy and Jesse had

  stolen some guns and that she had seen some of these guns at Debra's home a few days before

  the police applied for and executed the search warrant. See United States v. Cowling. 648 F.3d

  690, 696 (8th Cir. 2011)("Because the warrant affidavit established probable cause that [the

  defendant] possessed stolen firearms, it follows that probable cause existed to search [the

  defendant's] residence, because people 'generally keep [firearms] at home or on their persons.'")

 (third alteration in original)(quoting United States v. Steeves. 525 F.2d 33, 38 (8th Cir. 1975)).

  Debra's home was also a likely place to store the stolen property; Jeremy and Jesse lived at

  Debra's house in close proximity to the Westover and Bumette burglaries, and the holes in the

  fence surrounding the Cherry Todd lot suggested that the thieves had created a shortcut between

  Westover's residence and the area near Debra's home. United States v. Jones. 994 F.2d 1051,

  1057(3d Cir. 1993)(explaining that the proximity of the suspect's home to a robbery made the

  home "a likely repository for evidence"). And while Agent Sedljmajer testified that some stolen
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  items "move fast," T. 104, the sheer volume of the items stolen from the Westover and Bumette

  residenees suggests that the thieves would still possess some of the items, s^ Ex. 2. It was

  reasonable to infer that some of the property stolen in the Westover and Bumette burglaries

  would be found in Debra's home.        United States v. Ross. 487 F.3d 1120, 1123-24 (8th Cir.

  2007) (finding that officers eould reasonably believe that there was a sufficient connection

  between a dmg transaction and the defendant's home where the officers had seen the same truck

  at the defendant's residence that the defendant was driving when he met with coconspirator);

  United States v. Sulanke. 121 F.3d 713 (8th Cir. 1997) (unpublished opinion) (finding, on a

 record containing less evidence of probable cause than is present here, that officers had a

 reasonable belief that they had probable cause to search the defendant's residence for evidence of

  a burglary).

         The defendants assert that Agent Sedlmajer's investigation leading up to the warrant was

 so perfunctory that he could not reasonably believe he had probable cause. They argue that

  Eastman was unreliable and that Agent Sedlmajer should have corroborated her statements by

 speaking with her personally. The investigation here was sufficient to make Agent Sedlmajer's

 reliance on the warrant objectively reasonable. First, personal contact between an informant and

 the officer drafting the warrant is not always necessary to establish probable cause. United

  States V. Fiorito. 640 F.3d 338, 346 (8th Cir. 2011)("[Tjhere is no requirement that an affiant

  have first-hand knowledge of every allegation he includes in his affidavit."); United States v.

  LaMorie. 100 F.3d 547, 553 (8th Cir. 1996)(explaining that personal contact with an informant

 is "not invariably required"). It was enough for purposes of the good-faith exception that

  Captain Wain and Chief Enno told Agent Sedlmajer what Eastman had said. S^ Farlee. 757

  F.3d at 819 (finding that the good-faith exception applied even though the officer applying for



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  the search warrant hased his affidavit on an investigation conducted by another officer). Second,
  Agent Sedlmajer did not simply rely on what other officers told him about Eastman's interview;
  he corroborated what she had said by confirming that the shotgun found in the tree line near
 Calvin Sr.'s residence belonged to Westover. T. 38. An informant's statements are "more likely
 to be reliable" when officers independently corroborate the statements as Agent Sedlmajer did
 here. United States v. Clav. 646 F.3d 1124, 1127 (8th Cir. 2011); see also United States v.
 Warford, 439 F.3d 836, 841 (8th Cir. 2006)("Even where an informant does not have a track

 record of supplying reliable evidence, the information may be considered reliable if it is

 corroborated by independent evidence."). Third, Eastman said that she had actually seen the
 stolen firearms and she described the color and appearance of some of them. T. 132, 140-41;
 Ex. C. Eastman's first-hand observations are more compelling than information based on

 hearsay. United States v. Robertson. 39 F.3d 891, 893 (8th Cir. 1994)("[TJhere is an inherent
 indicia of reliability in 'the richness and detail of a first hand observation.'" (quoting United
 States V. Jackson. 898 F.2d 79, 81 (8th Cir. 1990))); see also United States v. Hallam. 407 F.3d

 942, 946 (8th Cir. 2005) (affidavit that failed to provide sufficient facts establishing the

 reliability of the informant but included some "fairly specific" first-hand observations by the
 informant was not so lacking in probable cause that the officer's reliance on the warrant was

 "entirely unreasonable").^


  In the section of their brief arguing that probable cause is lacking, the defendants contend that
 Agent Sedlmajer should have informed the tribal judge of Eastman's "motive" for speaking to
 Captain Wain because this information was relevant to Eastman's credibility. Doc. 235 at 5.
 Eastman has two children with Jeremy. T. 82, 128; Ex. C. When speaking with Captain Wain
 about the stolen property, Eastman asked what would happen to the children if Jeremy were
 arrested. T. 134; Ex. C. According to the defendants, Eastman's motive for speaking with
 Captain Wain was getting her children back. Doc. 235 at 5. To the extent the defendants are
arguing that the good-faith exception does not apply because Agent Sedlmajer recklessly omitted
information about Eastman's motive, this argument is unconvincing. Omissions about an
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          The defendants also argue that the good-faith exception is inapplicable because the tribal

  judge abandoned his judicial role by acting as a "rubber stamp" for the police. According to the

  defendants, the tribal judge must have acted as a rubber stamp because the affidavit failed to

  establish probable cause and the judge never questioned Agent Sedlmajer. However, the

  defendants' probable cause assertion is merely "another way of phrasing the argument that no

  one who relied upon the affidavit could have been objectively reasonable, an argument that [this

  Court] has already rejected." United States v. Sager. 743 F.2d 1261, 1267 (8th Cir. 1984); see

  also United States v. Clark. 638 F.3d 89, 101 (2d Cir. 2011)("[L]egal error by the issuing judge

  in identifying probable cause does not, by itself, indicate the sort of wholesale abandonment of

  the judicial role discussed in Leon."]. And while the tribal judge should have been more

  demanding of Agent Sedlmajer, his failure to ask any questions does not alone justify finding

  that the judge acted as a rubber stamp. See Hallam. 407 F.3d at 946 (rejecting argument that

  magistrate judge who was "anxious" to return to bed and did not ask any questions about a



  informant's motives become less important when, as here, the informant provides a detailed
  description of her first-hand observations and the police are able to corroborate the informant's
  statements. United States v. Thompson. 139 F. App'x 724, 731 (7th Cir. 2005); Gates. 462 U.S.
  at 234("[E]ven if we entertain some doubt as to an informant's motives, his explicit and detailed
  description of alleged wrongdoing, along with a statement that the event was observed first-hand,
  entitles his tip to greater weight than might otherwise be the case."). Moreover, even if
  Eastman's motive for speaking with Captain Wain was getting her children back, she would have
  had little reason to lie. Eastman had to recognize that she could be held accountable for lying to
  the police and that she would not get her children back unless the information she provided
  tumed out to be true. Notwithstanding arguments about Eastman's supposed motive for
  speaking with Captain Wain, this Court cannot conclude that the affidavit was misleading or that
  Agent Sedlmajer recklessly omitted information from the affidavit. See United States v.
  Camahan. 684 F.3d 732, 735 (8th Cir. 2012)("[BJecause a warrant application need only show
  facts establishing probable cause, reckless [disregard for the truth] may be inferred from the
  omission of information from an affidavit only when the material omitted would have been
  clearly critical to the finding of probable cause."(quoting United States v. Smith. 581 F.3d 692,
  695 (8th Cir. 2009))); United States v. Caswell. 436 F.3d 894, 899 (8th Cir. 2006)("[B]ecause
  the police corroborated part of what the informant said, an attack upon the informant's reliability
  is not erucial to finding probable cause.").
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  search warrant had abandoned his judicial role). The defendants have not shown that the tribal

  judge was biased or impartial, and the evidence undercuts any claim that the judge blindly
  approved the warrant without any consideration. Indeed, before issuing the warrant, the tribal

  judge received the affidavit and then had Agent Sedlmajer read it aloud. Compare United States
  V. Tagbering. 985 F.2d 946, 951 (8th Cir. 1993)(rejecting argument that issuing judge's "five-

  minute perusal" of an affidavit "was no more than a rubber stamp approval"), with United States

  V. Decker. 956 F.2d 773, 777 (8th Cir. 1992)(finding that a judge had abandoned his judicial

  role because, among other problems, he signed a warrant without reading it or the accompanying

  affidavit). At bottom, the record does not justify finding that the tribal judge wholly abandoned

  his judicial role.

          The defendants' final argument against the good-faith exception is that it should not

  apply because Agent Sedlmajer was not under oath when he signed the affidavit. In addition to a

  signature block for Agent Sedlmajer, the affidavit had a signature block for the tribal judge just

  below the words"SUBSCRIBED AND SWORN BEFORE ME,A JUDGE, ON THIS H'^DAY

  OF NOVEMBER, 2016." Ex. 2. The Fourth Amendment requires that probable cause to

  support a search warrant be supported by "Oath or affirmation." U.S. Const, amend. IV. Agent

  Sedlmajer testified that he was not under oath when he signed the affidavit despite the statement

 in the affidavit saying it had heen "subscribed and sworn" before a tribal judge. T. 111. But

  Agent Sedlmajer also testified that the tribal judge administered an oath after Agent Sedlmajer

 read the affidavit aloud and Agent Sedlmajer then confirmed that everything therein was correct.

 T. 47-48, 111-12.      Although that handling of the "Oath or affirmation" requirement is

 substantially less than ideal, the defendants have not cited any cases suggesting that these

 circumstances violate the Fourth Amendment. It would be illogical to hold that Agent


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  Sedlmajer's pre-oath signature undercut his good-faith belief in the validity of the warrant when
  he was actually placed under oath and confirmed that the affidavit was accurate. But even

  assuming that the warrant was not supported by oath or affirmation, the good-faith exception
  would still apply. Multiple courts, including this Court and the Eighth Circuit, have applied the
  good-faith exception in cases where the warrant or supporting affidavit was unswom. United

  States V. Hessman. 369 F.3d 1016, 1018-23 (8th Cir. 2004)(appljdng the good-faith exception to
  a warrant obtained by fax and telephone even though the deputy had not signed the warrant

  application and the issuing judge did not place the deputy under oath or talk to him about the

  facts supporting the warrant); United States v. Richardson. 943 F.2d 547, 548, 550-51 (5th Cir.
  1991) (holding that the good-faith exception applied to an unsigned warrant even though the
  issuing judge, in a telephone conversation, did not require an oath or affirmation); United States
  V. Medearis, 775 F. Supp. 2d 1110, 1120-23 (D.S.D. 2011)(collecting cases and applying the
  good-faith exception to a telephonic search warrant despite the issuing judge's failure to place
 the officer under oath).

         C.     Seizure of Evidence at Debra's house

         The defendants' argument about the seizure of evidence is based on Agent Sedlmajer's

 somewhat confiising testimony at the suppression hearing. Agent Sedlmajer responded "Yes"

 when Judge Moreno asked whether tribal officers had seized items fi-om Debra's house that were

 not on the inventory attached to the search warrant. T. 113. When asked which unlisted items

 police had seized. Agent Sedlmajer described seeing a cordless drill bearing the initials "BW"

 and some leather boots. T. 114-15. He explained that although the drill and "leather dress

 boots" were on the inventory, he had called Westover to Debra's home to confirm that these

 items did, in fact, belong to Westover. T. 114—15; Ex. 2. Attempting to clarify Agent


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  Sedlmajer s answer, Judge Moreno asked again whether the police had seized any unlisted items.
  T. 115. Agent Sedlmajer responded "Yes and no," and referred to a 204 Savage rifle listed on

  the inventory as an example of what he meant. T. 115. Although the rifle had a scope on it
  when it was stolen from Westover's home, the scope had been removed by the time officers
  found the rifle at Debra's house. T. 115—16. Westover identified the scope that had originally
  been on the rifle, so Agent Sedlmajer seized the scope even though it was not specifically listed
  on the inventory. T. 115—16. The defendants did not ask Agent Sedlmajer any further questions
  about what unlisted items may have been seized during the search.

         Citing to Agent Sedlmajer's testimony, the defendants now argue that the police seized

 "additional items" that were not on the inventory. Doc. 235 at 7. However, the defendants do

  not identify any specific items they claim were seized illegally. To the extent the defendants are

  arguing that the scope should be suppressed, this Court finds that the warrant's authorization to

 seize the 204 Savage rifle also authorized the police to seize the scope that was attached to the

 rifle when it was stolen. ^Mountain Pure. LLC v. Roberts. 814 F.3d 928, 933 (8th Cir. 2016)

 ("[OJfficers executing a search warrant are not obliged to interpret it narrowly." (quoting

 McClendon v. Storv Ctv. SherriFs Office. 403 F.3d 510, 517 (8th Cir. 2005))); United States v.

 Butler, 793 F.2d 951, 953 (8th Cir. 1986) (holding that warrant's "generic reference" to

 explosives authorized the seizure ofcomponent parts of hand grenades).

         The defendants also argue that Westover's presence at Debra's home during the search

 violated their Fourth Amendment rights.       "The general touchstone of reasonableness which

 governs Fourth Amendment analysis . . . governs the method of execution of the warrant."

 United States v. Ramirez. 523 U.S. 65, 71 (1998). Agent Sedlmajer testified that Debra's home

 where Jeremy and Jesse resided looked "like a hoarder's house," with things "stacked three feet


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  high" in one of the bedrooms. T. 52-53. The police were having such a difficult time
  identifying the items on the inventory that Agent Sedlmajer called Westover to come assist them.

  T. 53. Under these circumstances, it was objectively reasonable for the officers to use Westover,

  the victim of one of the burglaries, to help them identify the stolen property listed on the
  inventory. United States v. Greeoire. 638 F.3d 962, 967 (8th Cir. 2011)(holding that execution
  of a warrant was reasonable where officers, who encountered a "massive cache of items that

  appeared to fall within the universe of suspected thefts," allowed the victim of the thefts into the

  suspect's home to help identify the stolen items); see also Wilson v. Lavne. 526 U.S. 603, 611-

  12(1999)("Where the police enter a home under the authority of a warrant to search for stolen

  property, the presence of third parties for the purpose of identifying the stolen property has long

  been approved by this Court and our common-law tradition.").

         D.      Jesse's Statements and buccal swabs

         Jesse argues that his statements at the Rosebud jail are inadmissible because they were

 involuntary under the Fifth Amendment and because he never executed a valid waiver of his

 Miranda rights. He also argues that the buccal swabs were taken involuntary. Judge Moreno

 rejected all three of these arguments. Citing Jesse's receipt of Miranda warnings, the lack of any

 police coercion, and Jesse's background and conduct during the interview. Judge Moreno

 concluded that Jesse's statements were voluntary. See Dickerson v. United States. 530 U.S. 428,

 444 (2000) ("[CJases in which a defendant can make a colorable argument that a self-

 incriminating statement was 'compelled' despite the fact that the law enforcement authorities

 adhered to the dictates of Miranda are rare."(quoting Berkemer v. McCartv. 468 U.S. 420, 433

 n.20 (1984))); United States v. LeBrun. 363 F.3d 715, 724 (8th Cir. 2004)(en banc)(discussing

 standard for determining whether a statement was voluntary). He also found that Jesse had


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  knowingly and voluntarily waived his Miranda rights because, among other reasons, Jesse was

  never subject to any police overreaching. Agent Sedlmajer read Jesse his rights aloud, and Jesse

  agreed to waive his rights orally and in writing. T. 61-62, 70; Ex. 3; Ex. 5 at 04:30-42; see

  Colorado v. Spring. 479 U.S. 564, 573-74 (1987) (setting forth standard for knowing and

  voluntary waiver of Miranda rights); North Carolina v. Butler. 441 U.S. 369, 373 (1979)("An

  express written or oral statement of waiver of the right to remain silent or of the right to counsel

 is usually strong proof of the validity of that waiver . . . ."). As for the buccal swabs. Judge

  Moreno concluded that Jesse's consent was voluntary because there was no police coercion,

 Jesse was a thirty-year-old high school graduate who had experience with the criminal justice

 system, and Jesse consented to giving the buccal swabs orally and in writing. Ex. 5 at 31:35-

 32:05, 35:25-36:10; s^ United States v. Bradlev. 234 F.3d 363, 366 (8th Cir. 2000)(discussing

 standard for determining whether consent to search was voluntary).

         This Court agrees with Judge Moreno's factual findings and legal conclusions concerning

 Jesse's statements and the buccal swabs. The only new argument that Jesse makes in his

 objections is that his will was overborne by promises not to prosecute him for the Westover

 burglary and by the officers' references to his familial relationship with Captain Wain.

         Jesse's argument is unconvincing. Although Agent Sedlmajer told Jesse that speaking

 with the police would be "good for you in the long run" Ex. 5 at 00:55-01:01, and that the police

 could "help" Jesse, Ex. 5 at 09:35-50, 13:35-42, these vague and noncommittal statements were

 not sufficient to overbear Jesse's will or critically impair his capacity for self-determination. See

 United States v. Rodebaugh. 798 F.3d 1281, 1293 (10th Cir. 2015)(per curiam) (finding that

 agent's statement that "If you work with us, we'll go easy on you," was a permissible

 interrogation tactic that did not render the confession involuntary); LeBrun. 363 F.3d at 725



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 ("[A] promise made by law enforcement does not render a confession involuntary per se.")

 (quotation omitted); United States v. Rutledee. 900 F.2d 1127, 1130-31 (7th Cir. 1990)(holding

  that agent's statement that "all cooperation is helpful" did not make a confession involuntary).

  And Agent Sedlmajer never told Jesse that he would not be prosecuted for the Westover

  burglary. Rather, after Jesse confessed to taking the Michael Jordan poster. Agent Sedlmajer

  said he didn't know how they were going to "get out of that one." Ex. 5 at 46:28-47:21. Later

 in the interview. Agent Sedlmajer told Jesse that if he gave information about drug dealing on

 the reservation. Agent Sedlmajer could not necessarily "make Michael Jordan go away," but he

 could "push the word up the chain" that Jesse had cooperated. Ex. 5 at 59:55-1:00:40. Agent

  Sedlmajer stressed, however, that whether Jesse's cooperation would help him was not a

  decision Agent Sedlmajer had the authority to make. Ex. 5 at 1:00:25-52. Contrary to Jesse's

 argument. Agent Sedlmajer's statements do not constitute an implied promise that Jesse would

 not be prosecuted for the Westover burglary. As for Jesse's argument about his relationship with

 Captain Wain, Agent Sedlmajer never came anywhere close to saying something about Captain

  Wain that would have affected Jesse's decision to speak with the police, waive his rights, or give

 the buccal swabs.


         E.     Fruit of the poisonous tree

         Jesse argued unsuccessfully to Judge Moreno that the buccal swabs should be suppressed

 as fruit of the poisonous tree.     Wong Sun v. United States. 371 U.S. 471 (1963). Jesse now

 objects to Judge Moreno's recommendation to the contrary. Because the police did not violate

 the Fourth Amendment, Jesse's fiuit-of-the-poisonous-tree argument fails.

 III.    Conclusion


         For the reasons explained above, it is hereby



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         ORDERED that Defendants' objections to the Report and Recommendation, Docs. 235,

  243, 244, are denied. It is further

         ORDERED that the Report and Recommendation, Doc. 223, is adopted. It is finally

         ORDERED that Defendants' Motions to Suppress, Docs. 134,136,161, are denied.


         DATED this          day of December, 2017.

                                             BY THE COURT:




                                             ROBERTO A. LANOE
                                             UNITED STATES DISTRICT JUDGE




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